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 1                  UNITED STATES DISTRICT COURT

 2                 NORTHERN DISTRICT OF NEW YORK

 3

 4    NATIONAL RIFLE ASSOCIATION OF )
      AMERICA,                      )
 5                                  )
                Plaintiff,          )            CASE NO. 1:18-CV-566
 6                                  )
           vs.                      )
 7                                  )
      ANDREW CUOMO, et al.,         )
 8                                  )
                Defendants.         )
 9                                  )

10                   TRANSCRIPT OF PROCEEDINGS
                BEFORE THE HON. CHRISTIAN F. HUMMEL
11                    THURSDAY, MARCH 5, 2020
                          ALBANY, NEW YORK
12

13    FOR THE PLAINTIFF:
           Brewer Attorneys & Counselors
14         By: John C. Canoni, Esq.
           1717 Main Street, Suite 5900
15         Dallas, Texas 75201

16
      FOR NYS DEFENDANTS:
17         Office of the New York State Attorney General
           By: William A. Scott, AAG
18         The Capitol
           Albany, New York 12224
19
      FOR DEFENDANT VULLO: (by telephone)
20         Emery Celli Brinckerhoff & Abady
           By: Andrew G. Celli & Debra L. Greenberger, Esqs.
21         600 Fifth Avenue, 10th Floor
           New York, New York 10020
22

23

24                THERESA J. CASAL, RPR, CRR, CSR
                  Federal Official Court Reporter
25                     445 Broadway, Room 509
                      Albany, New York 12207
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 1                             (Court commenced at 1:36 PM.)

 2                THE CLERK:     The case is National Rifle Association

 3    of America versus Cuomo, et al., docket number 18-CV-566.

 4    Appearances for the record, please.

 5                MR. CANONI:     John Canoni from the law firm of

 6    Brewer Attorneys & Counselors for the plaintiff.

 7                THE COURT:     Good afternoon, Mr. Canoni.

 8                MR. CANONI:     Good afternoon, your Honor.

 9                MR. SCOTT:     William Scott, New York State Office

10    of the Attorney General, for defendants Cuomo and DFS.

11                THE COURT:     Good afternoon, Mr. Scott.

12                MR. SCOTT:     Good afternoon.

13                MR. CELLI:     Good afternoon, your Honor, it's

14    Andrew Celli and Debbie Greenberger from the law firm of

15    Emery Celli Brinckerhoff & Abady in New York.          It's nice to

16    meet you and I want to thank the Court for allowing us to

17    appear by telephone.

18                THE COURT:     I'm glad to accommodate you that way,

19    Mr. Celli, sir.     Good afternoon, Miss Greenberger.

20                The Court has before it two letters which have

21    been filed in this matter, letter motions.         Docket number

22    171 is a law firm from -- excuse me, a letter from

23    Mr. Celli's firm raising the issue regarding the deposition

24    of Maria T. Vullo, whom Emery Celli represents, and

25    specifically raising a concern that if Miss Vullo is deposed

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 1    now that the defendant NRA may seek to depose her on a

 2    second occasion after further discovery has been conducted

 3    in this matter and after a decision has been rendered on the

 4    plaintiff's current motion seeking to amend their complaint

 5    to replead their selective enforcement claim.

 6                Docket number 174 is a letter filed by Mr. Canoni

 7    in response thereto.

 8                Mr. Celli or Miss Greenberger, why don't you tell

 9    me anything you'd like to tell me that's not contained in

10    your letter.

11                MR. CELLI:    Your Honor, thank you.     This is Andrew

12    Celli.    It's all pretty much there, your Honor.        I do want

13    to add one thing which we identified over the last couple of

14    days.    Before we were brought into the case as counsel to

15    Miss Vullo, there was a hearing before Your Honor at the

16    very early stages where the issue of Miss Vullo's deposition

17    was being considered, and this was on March 13, 2019, and we

18    got the transcript and in that transcript there is a

19    discussion of a very similar issue, which was that the NRA

20    has made a decision, a tactical decision, to want to take

21    Miss Vullo's deposition early and there was a concern

22    expressed, I believe by counsel for Mrs. Vullo at the time,

23    which would have been Mr. Scott or someone at the AG's

24    office, that she not be deposed twice.        And Your Honor, in

25    that transcript, on two occasions, makes the point that, you

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 1    know, you get one bite of the apple in this business and

 2    that if you want to make a tactical decision to take an

 3    important, in this case, highly-placed official's deposition

 4    early in the discovery process, you know, that is your

 5    choice and you have to live with it.

 6                Here we have a situation where she is prepared to

 7    sit, she is prepared to sit relatively soon, in the next few

 8    weeks, couple weeks, we're prepared to give dates for that,

 9    but we want it to be very clear on the record that this is a

10    decision being made by the NRA at a time when there are open

11    privilege issues before the Court, document issues that have

12    been pending for some time and are not decided.          There is a

13    pending motion to amend to add a new claim.         There are other

14    depositions of third-party witnesses that we understand, or

15    at least one of those we understand, has been put off until

16    May, and we simply want to be clear that if they want to

17    proceed, look, if there are gonna be questions that arise

18    from the NRA letter, but if they do want to proceed that

19    they do that with their eyes open and we don't want to hear

20    the argument later that they get some document after Your

21    Honor's ruling on the privilege or they -- or there's some

22    clarification that their position with respect to selective

23    enforcement.    We think they should be denied anyway and now

24    they want to ask for it.      That's really where we are, your

25    Honor.

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 1                 THE COURT:    All right.     Mr. Scott, I assume your

 2    position would be the same as Miss Greenberger and

 3    Mr. Celli's?

 4                 MR. SCOTT:    That's correct, your Honor.     I think

 5    that the -- conducting the deposition at this time just

 6    seems destined to result in either more motion practice or

 7    more objections than simply waiting until the issues before

 8    the Court are resolved, but I agree with what Mr. Celli and

 9    Miss Greenberger are saying.

10                 THE COURT:    Mr. Canoni, sir.

11                 MR. CANONI:    Your Honor, yes. I'd like to start

12    off with the fact that the Court is aware that there was

13    issues when the depositions occurred in January and ordered

14    the deposition to occur again.          The privilege issues, just

15    to borrow Mr. Celli's phrase was a tactical decision by the

16    defendant who asserts the privilege, no different than if

17    they asserted the privilege for the first time at the

18    deposition.     That's an issue we can deal with later, but we

19    want to take her deposition, we have been seeking it since

20    June of 2018 and I'm happy to hear that Mr. Celli has freed

21    up some time to have her deposition occur this month.

22                 THE COURT:    I guess, Mr. Canoni, that's not really

23    the issue.     The issue is what's gonna happen down the road

24    once the Special Master gets a chance to go through the over

25    15,000 documents that are subject of a privilege issue and

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 1    once Judge McAvoy decides your appeal of my decision

 2    regarding the motion to compel and once a decision is issued

 3    with respect to your Preliminary Injunction and the motion

 4    to serve a second amended complaint to replead the selective

 5    enforcement action.       You're gonna be back here again, I

 6    assume, seeking to take a second deposition of Ms. Vullo,

 7    and I think Mr. Celli has made it clear to you and Mr. Scott

 8    that they're going to oppose that.

 9                MR. CANONI:     And I wouldn't expect anything less,

10    your Honor.     I can't look into a crystal ball.       I know we

11    want to take her deposition and ask her questions that are

12    within her personal knowledge that we can answer about what

13    conversations she had with whom and when.

14                THE COURT:     All right.   You can do that,

15    Mr. Canoni --

16                MR. CANONI:     Right.

17                THE COURT:     -- but, again, my recollection is the

18    same as Mr. Celli's and while I did not have the benefit of

19    looking at the transcripts, I take pretty detailed notes

20    during these conferences and I have a clear recollection of

21    speaking to you, or perhaps it was when Miss Rogers was on

22    the case, indicating you're entitled to one bite of the

23    apple and it'll be your burden to establish to the Court

24    that you should be entitled to a second bite of the same

25    apple.

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 1                MR. CANONI:    Yes.

 2                THE COURT:    I am not gonna tell you now

 3    categorically that I would not grant you that, but I want to

 4    make it clear to you that's your burden to bear and your

 5    burden to go forward with.

 6                MR. CANONI:    We understand, your Honor.      The only

 7    thing I would say is at this point, given the motions that

 8    are pending, I can easily foresee an appeal being taken from

 9    any one of those decisions that Your Honor just referenced

10    and us being here a year from now with a similar issue at

11    hand.

12                THE COURT:    I sense whatever decision Judge McAvoy

13    makes with respect to the pending appeal or the decision

14    with respect to amend the complaint, one of you is gonna

15    take an appeal either to the Magistrate Judge or the

16    District Court Judge or perhaps seek leave to go to the

17    Second Circuit to present these issues, so I don't see this

18    as something that's going to be resolved in the near future.

19                MR. CANONI:    No.     And that's our point is then

20    we're talking about Ms. Vullo being deposed sometime in

21    2021, 2022.

22                THE COURT:    Again, I appreciate your position.

23                MR. CANONI:    Yeah.

24                THE COURT:    I've made it clear to all of you I

25    think, if not I will again, this case is very disturbing to

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 1    me as dead in the water.      To the extent I make a decision

 2    and someone takes an appeal, to the extent Judge McAvoy

 3    makes a decision and someone wants to reargue, I've got a

 4    Special Master looking at in excess of 15,000 documents and

 5    Mr. Scott just provided some additional thumb drive earlier

 6    in the week in response to my direction that he provide more

 7    definite information with respect to the privilege log.

 8                So, Mr. Canoni, I guess, to make my point clear,

 9    you want to depose Ms. Vullo, I'll direct that Mr. Celli and

10    Miss Greenberger produce her.       If you seek to depose her

11    again, you'll have the heavy burden of showing the Court why

12    it should let you do that, particularly in view of all of

13    the unresolved issues at the present time.

14                MR. CANONI:    That's fine, your Honor.      That's more

15    than acceptable to us.

16                THE COURT:    Mr. Celli or Ms. Greenberger, anything

17    else you would like to put on the record?

18                MR. CELLI:    Just from our point of view, we

19    appreciate the absolute clarity of Your Honor's statement on

20    this and --

21                THE COURT:    Mr. Celli, not to interrupt you, but

22    I'm frequently wrong, but I'm always certain, sir.

23                MR. CELLI:    This is good.    I mean, look, as we

24    said, we should have some dates available the week of the

25    16th of March, if she's available and they're available, but

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 1    the critical issue for us is that the NRA is on notice that

 2    they're gonna have to meet that high burden in order to try

 3    to get her -- everything they know about what's currently

 4    pending.

 5                THE COURT:     Mr. Canoni has repeatedly indicated

 6    he's aware of that and the position of his predecessor, I

 7    believe,         Miss Rogers, took the position as well.

 8                Anything else we can do for you, Mr. Celli and

 9    Miss Greenberger, other than to tell you to have a good

10    weekend?

11                MR. CELLI:     Have a good weekend, Judge.

12                MR. CANONI:     Your Honor, while we are here, since

13    this is a little broader than just depositions, I want to

14    bring up a couple issues while we're all together.

15                THE COURT:     Sure.

16                MR. CANONI:     One is you previously mentioned the

17    Special Master's progress.         Is there anymore you can tell us

18    regarding his timeline or --

19                THE COURT:     He just received additional

20    information from Mr. Scott, Mr. Canoni.         Mr. Scott dropped

21    off a thumb drive.       Part of the issue that the Special

22    Master has encountered is it's difficult to tell what

23    privileges may or may not apply to a particular email

24    because there was not sufficient information provided.

25    That's what we asked Mr. Scott to do and he tells me he's

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 1     addressed that.    I've repeatedly talked to Mr. Hill, the

 2     Special Master, and emphasized the need to him to move this

 3     forward.    I am gonna speak to him again next week, I speak

 4     to him every couple of weeks to monitor his process, so

 5     we're on top of this and it's his priority.

 6                 MR. CANONI:    I have no doubt that the Court and

 7     Mr. Hill are on top of it, just --

 8                 THE COURT:    Again, he's trying to get this done as

 9     expeditiously as possible.        Beyond that, I don't have a

10     clear sense.

11                 MR. CANONI:    Just as a suggestion, Your Honor

12     asked us when we were here three months ago, if we are back

13     in front of the Court or the Special Master with respect to

14     additional documents, sharing the privilege log in advance.

15     If there were another 15,000 documents, for example, the NRA

16     may only challenge 5,000 of those which would --

17                 THE COURT:    Yeah.    I've had those conversations

18     with the Special Master and my law clerks, and if the issue

19     arises again, we are gonna take another look at this.           There

20     needs to be a better way to expedite this process.

21                 MR. CANONI:    Certainly.    Lastly, your Honor, while

22     we're here, it's come up in some of the meet and confers

23     with third parties with respect to document production

24     subpoenas and deposition subpoenas, is there a way that Your

25     Honor could put on the record an additional extension of the

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 1     discovery deadline, again an interim deadline, be- -- some

 2     third parties are saying discovery is closed as of

 3     October 15th in your case and, therefore, we're not going

 4     to.

 5                THE COURT:    You send me a letter and I'll address

 6     that for you.    Put something on the docket so Mr. Scott and

 7     Ms. Greenberger and Mr. Celli can respond.         But I'm happy to

 8     address that for you.

 9                MR. CANONI:    Obviously, the parties are continuing

10     to progress as if discovery is continuing.

11                THE COURT:    I understand.     But if you send me a

12     letter, I'll reset the deadlines and that way you won't have

13     any problems with third parties.

14                MR. CANONI:    Right.     And again, so everyone is

15     clear, not right but clear, that that will just be an

16     interim deadline given all the motion practice and --

17                THE COURT:    Until all these motions are resolved

18     and all of your respective appeals are resolved, it's

19     hard-pressed to set a final deadline because I don't know

20     what the issues are.     For example, if Judge McAvoy sees the

21     wisdom of your request to file a second amended complaint

22     and to replead the selective enforcement claim, that reopens

23     the entire process.

24                MR. CANONI:    Correct.

25                THE COURT:    So anything else I can do for you,

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 1     Mr. Canoni?

 2                MR. CANONI:     That will do it, thank you very much.

 3                THE COURT:     Mr. Scott.

 4                MR. SCOTT:     No, your Honor.

 5                THE COURT:     You folks are all set, have a good

 6     weekend, thank you.

 7                MR. SCOTT:     Thank you, your Honor.

 8                             (This matter adjourned at 1:47 PM.)

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 1               CERTIFICATION OF OFFICIAL REPORTER

 2

 3

 4                I, THERESA J. CASAL, RPR, CRR, CSR, Official

 5     Realtime Court Reporter, in and for the United States

 6     District Court for the Northern District of New York, do

 7     hereby certify that pursuant to Section 753, Title 28,

 8     United States Code, that the foregoing is a true and correct

 9     transcript of the stenographically reported proceedings held

10     in the above-entitled matter and that the transcript page

11     format is in conformance with the regulations of the

12     Judicial Conference of the United States.

13

14                Dated this 25th day of March, 2020.

15

16                /s/ THERESA J. CASAL

17                THERESA J. CASAL, RPR, CRR, CSR

18                FEDERAL OFFICIAL COURT REPORTER

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